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 7                                 UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF WASHINGTON
 8                                          AT SEATTLE
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10    CHI CHEN, et al.,                                    Case No. 16-1109RSM

11                       Plaintiffs,                       ORDER SETTING BELLWETHER
                                                           TRIAL DATE AND DIRECTING
12                           v.                            PARTIES TO CONFERENCE WITH
13                                                         ASSIGNED SETTLEMENT JUDGE
      U.S. BANK NATIONAL ASSOCIATION, et
14    al.,
15                       Defendants.
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            The first bellwether trial in this case was originally scheduled for September 14, 2020.
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     Dkt. #301. On August 17, 2020, Plaintiffs and Defendant U.S. Bank informed the Court that
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19   settlement of all claims against U.S. Bank was possible and moved to strike the trial date. Dkt.

20   #342. The Court granted this Motion in part. Dkt. #343. The parties were ordered to file a joint
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     status report within 60 days if complete settlement had not occurred. The Court stated “[u]nless
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     the parties demonstrate a strong need for additional time to settle this case, the Court will then set
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24   the first bellwether trial for the next available date with sufficient time for pretrial motions to be

25   heard.” Id. at 4.
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     ORDER SETTING BELLWETHER TRIAL DATE AND DIRECTING PARTIES TO
     CONFERENCE WITH ASSIGNED SETTLEMENT JUDGE - 1
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            Many Plaintiffs in this case have settled and dismissed their claims. On October 19, 2020,
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 2   the remaining Plaintiffs, now represented by different counsel, filed a status report. Dkt. #358.

 3   Defendant U.S. Bank filed a separate status report. Dkt. #359.
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            Eighteen Plaintiffs remain. Dkt. #358 at 1. One of the two previously selected bellwether
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     plaintiffs, Tengyao Song, settled his claims. The remaining bellwether plaintiff, Rui Mao,
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 7   remains ready to proceed to trial. Id. Plaintiffs’ new counsel does not discuss further attempts at

 8   settlement.
 9          U.S. Bank also fails to discuss settlement efforts. See Dkt. #359. Instead, U.S. Bank
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     argues that a bellwether trial would be “inappropriate at this point in the case” and that a trial of
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     all eighteen Plaintiffs at once is “certainly” feasible now. Id. at 2. U.S. Bank argues that a
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13   bellwether trial with only one Plaintiff would not serve any legitimate purpose. Id. Later U.S.

14   Bank argues/admits that “[n]early all of the remaining plaintiffs live in China,” and that “[t]ravel
15   and other pandemic-related restrictions would inhibit their ability to attend the trial.” Id. at 3.
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     U.S. Bank requests leave for supplemental briefing on the bellwether trial process “given the
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     fundamentally altered nature of this case.” Id.
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19          The Court disagrees that settlement efforts have fundamentally altered the nature of this

20   case. This remains a multi-plaintiff case with the same legal issues, logistical problems, and
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     procedural history. The bellwether trial issue has been fully briefed and ruled on.
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            Neither party has presented any evidence that further time is needed for settlement
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24   discussions. As stated in the Court’s prior Order, a new scheduling order will thus be issued

25   assigning a bellwether trial date of January 25, 2021.
26          However, given the arrival of new Plaintiffs’ counsel and the substantial number of
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     Plaintiffs who have settled their claims, the Court finds that the parties would strongly benefit
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     ORDER SETTING BELLWETHER TRIAL DATE AND DIRECTING PARTIES TO
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     from working with a settlement judge prior to trial. The Court will therefore direct the parties, or
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 2   at least their counsel, to attend a mandatory settlement conference with that judge in November

 3   or December. The Court notes that Defendants Quartzburg Gold, L.P., ISR Capital, LLC, and
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     Idaho State Regional Center, LLC, who have not filed a status report, suggested on March 20,
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     2020, that the Court “order a Mandatory Settlement Conference… at the earliest feasible date
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 7   after the ongoing concerns surrounding COVID-19 subside.” Dkt. #259 at 1.

 8          Having considered the applicable briefing submitted by the parties and the entire record,
 9   the Court hereby finds and ORDERS:
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            1) The first bellwether trial in this matter is RESET for January 25, 2021. The Clerk is
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                directed to issue a new scheduling order covering related pretrial deadlines.
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13          2) All remaining parties in this case are to participate in a mandatory settlement

14              conference with a separate assigned judge. The details of this conference will be
15              communicated to the parties by the in-court Deputy Clerk.
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            DATED this 21s day of October, 2020.
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                                                   A
                                                   RICARDO S. MARTINEZ
                                                   CHIEF UNITED STATES DISTRICT JUDGE
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     ORDER SETTING BELLWETHER TRIAL DATE AND DIRECTING PARTIES TO
     CONFERENCE WITH ASSIGNED SETTLEMENT JUDGE - 3
